989 F.2d 491
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Tommy BROCK, Plaintiff-Appellant,v.Sergeant SLIVER; Sergeant Harden;  Correctional OfficerWood, Defendants-Appellees,andWarden SAUNDERS;  Regional Administrator Huffman, Defendants.
    No. 92-7122.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 1, 1993Decided:  March 24, 1993
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-92-431)
      Tommy Brock, Appellant Pro Se.
      Karen Lynn Lebo, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before WIDENER, HAMILTON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Tommy Brock appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Brock v. Sliver, No. CA-92-431 (W.D. Va.  Oct. 19, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    